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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA



CHRISTOPHER (BRUCE) THE
LIVING MAN and ELIZABETH
(BRUCE) THE LIVING WOMAN

               Plaintiff                          JUDGMENT IN A CIVIL CASE
       v
                                                  CASE NUMBER: 4:18-cv-00223-RGE-CFB



WILLIAM A. PRICE; WILLIAM KELLY;
CAROL EGLY; JEANNE VAUDT; ROBERT
J. BLINK; ANASTASIA HURN; EMILY
NIEMAN; STEPHANIE RHINEHART;
KATIE GOSCH; LINDA LANE; JOHN P.
SARCONE; JESSE RAMIREZ; KEVIN
BELL; STEPHANIE BROWN; KEVIN J.
BROWNELL; GRANT DUGDALE;
KATHERINE MILLER-TODD; JAKE
LANCASTER; ALYSSA WILSON; GARY
BELLINGHAUSEN; JEANNE MUNSON;
KYLE THIES; NEWBURY LIVING; NANCY
ELSCOTT; THE DES MOINES REGISTER;
DARREN TROMBLAY; JEFFREY PITTS;
DALE MAYS; PAUL WHITE; LUCAS
TAYLOR; ASHLEY CRONBAUGH; and
ANTHONY REED,
            Defendant

       DECISION BY COURT. This action came before the Court. The issues have been
considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED: This case is dismissed. Cost are taxed to Plaintiffs Christopher
Bruce and Elizabeth Bruce.



Date: September 21, 2018                          CLERK, U.S. DISTRICT COURT

                                                  /s/ Donnell Vance
                                                  By: Deputy Clerk
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